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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 NOVARTIS PHARMACEUTICALS
 CORPORATION,

                   Plaintiff,

           v.

 XAVIER BECERRA, et al.,
                                                              No. 22-cv-02234 (DLF)
                   Defendants.

           and

 MSN PHARMACEUTICALS INC., et al.,

           Intervenor-Defendants.


                                                 ORDER

          For the reasons stated in the accompanying Memorandum Opinion, it is

          ORDERED that the defendants’ Cross Motion for Summary Judgment, Dkt. 43, and the

intervenor-defendants’ Cross Motion for Summary Judgment, Dkt. 46, are GRANTED. It is

further

          ORDERED that the plaintiff’s Motion for Summary Judgment, Dkt. 38, is DENIED.

          This is a final appealable order. The Clerk of Court is directed to close this case.




                                                                        ________________________
                                                                        DABNEY L. FRIEDRICH
October 13, 2024                                                        United States District Judge
